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 1

 2                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
 3
     Civil Action No: 19-CV-0293-PAB-STV
 4

 5   Gilbert T. Tso, a natural person and an American,   )   Article III, Court of Records
                                                         )   Common Law
             Plaintiff,                                  )
 6
                                                         )   Verified Complaint for:
     v.                                                  )
 7                                                       )   ===============================
     Rebecca Murray (a.k.a. Tso), et al.,                )   Civil RICO; Violations of Civil Rights, States &
 8                                                       )   Federal Statutes; Injunctive Relief (Sought)
                                                         )
 9           Defendants.                                 )   Demand for Trial by Jury where permitted.
                                                         )
10
           Plaintiff’s Motion for Relief from Judgment, ECF # 91 and from Order, ECF #90
11                                             Pursuant to
                                   Fed.R.Cv.P. 60(b)(1) and 60(b)(6)
12                       re: Rule 8(a)(2) and Rule 12(b)(6) in FIRST CLAIM.

13
          Plaintiff comes now and states before this Honorable Court the following:
14           a) On March 3, 2021, the United States Court of Appeals for the Tenth Circuit issued
15               its ruling in case no. 20-1142 concerning the appeal of the Final Judgment, ECF #52,

16               returning jurisdiction to this Honorable Court.

17        Pursuant to Fed.R.Cv.P. 60(b)(1) and 60(b)(6), Plaintiff moves this Honorable Court through

18   this MOTION for Relief from Judgment et seq, for relief from dismissal with prejudice under
     Rule 12(b)(6) as opposed to dismissal without prejudice under Rule 8(a)(2) as applied to
19
     Plaintiff’s FIRST CLAIM. Such relief would set aside (1) Final Judgment, ECF #91, and (2)
20
     post-judgment Order, ECF #90, as applied and pertaining to the dismissal of Plaintiff’s FIRST
21
     CLAIM with prejudice; and pending this Court’s ruling on ECF #113 entered together with this
22   MOTION, to reopen Plaintiff’s First Claim for hearing of new facts pursuant to Fed.R.Cv.P.

23   60(b)(2), and for limited discovery as required and befitting under due process.

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 2      This MOTION is timely entered as the Order Accepting Magistrate’s Recommendations,

 3   ECF #51, was entered on March 9, 2020, and the Final Judgment regarding Plaintiff’s Amended
     Complaint, ECF #52, specific to Plaintiff’s FIRST CLAIM, was entered on March 10, 2020.
 4

 5                   MEMORANDUM OF LAW AND CIVIL PROCEDURES

 6      Fed.R.Cv.P. 60 (b)(1) and (b)(6), and (d)(1) state in relevant parts:

 7             (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion and
               just terms, the court may relieve a party or its legal representative from a final
 8
               judgment, order, or proceeding for the following reasons:
 9                 (1) mistake, inadvertence, surprise, or excusable neglect;
                   :
10                 (6) any other reason that justifies relief.

11             (d) Other Powers to Grant Relief. This rule does not limit a court's power to:

12                 (1) entertain an independent action to relieve a party from a judgment, order, or
                   proceeding;
13
                     CAUSE AND JUSTIFICATION FOR RULE 60 MOTION
14
       1. Pursuant to Fed.R.Cv.P. 60(b)(1) and (b)(6), and 60(d)(1), Plaintiff has good cause and
15
     justification for this MOTION as:
16
            a) The Court agreed with the magistrate judge that the amended complaint, ECF #52,
17              violates Federal Rule of Civil Procedure 8(a)(2), which requires “a short and plain
18              statement of the claim showing that the pleader is entitled to relief.” [See, ECF #90 at

19              footnote [8] citing Mann v. Boatwright, 477 F.3d 1140, 1148 (10th Cir. 2007) noting
                that a violation of Rule 8(a) is “sufficient reason to dismiss [a] complaint” without
20
                prejudice and that it is “not the district court’s job to stitch together cognizable claims
21
                for relief from [a] wholly deficient pleading”].
22          b) In ECF #74, Plaintiff respectfully disagreed with the magistrate judge’s conclusion

23              that Plaintiff’s FIRST CLAIM failed to allege multiple schemes and failed to cite

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 2              actual RICO predicates. However, in ECF #74, @ ¶ 48, Plaintiff showed that ECF

 3              #52 had presented at least three schemes (#1- Best Interest of Child, #3- Using
                Courts, and #4/#5 – Conduct), and more than the minimum two incidences of
 4
                predicates cognizable under 18 USC §1961(a) that were not subject to the Rooker-
 5
                Feldman doctrine under:
 6                    (a) Acts and Liabilities Under 18 USC § 1951 – Extortion and Robbery at ECF

 7                    #52, ¶ 212; and
                      (b) Acts and Liabilities Under 18 USC §§ 1341, 1343 – Honest Services, Mail
 8
                      and Wire Fraud at ECF #52, ¶¶ 235, 236(i), (ii), and (v).
 9
        2. On March 3, 2021, the United States Court of Appeals for the Tenth Circuit noted in their
10
     ruling regarding Plaintiff’s FIRST CLAIM that “The district court dismissed this cause of action
11
     based on a failure to adequately plead (1) a predicate act of racketeering activity and (2) a pattern
12   of racketeering activity.” It went on to say that “… Mr. Tso does not address the district court’s

13   reliance on the second rationale (failure to adequately plead a predicate act of racketeering
     activity). He asserts that he alleged predicate acts of mail and wire fraud, extortion, robbery,
14
     peonage, obstruction of enforcement, and involuntary servitude. But he does not say how his
15
     allegations would satisfy the elements of these offenses. He has thus waived a challenge to the
16   district court’s reliance on the failure to adequately plead a predicate act. Because this failure
17   constituted an alternative basis for the ruling, we would need to affirm even if Mr. Tso had

18   adequately pleaded a pattern of racketeering activity. Bones v. Honeywell Int’l, Inc., 366 F.3d
     869, 877 (10th Cir. 2004).”
19
        3. Plaintiff respectfully disputes both the Court’s conclusion that ECF #52 failed to allege at
20
     least two RICO predicates cognizable under 18 USC §1961, and the assertion that Plaintiff “did
21   not say how his allegations would satisfy the elements of these offenses,” and in support states
22   the following.

23

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 2                                            ARGUMENT

 3      4. The District Court erred in its reliance on Rule 12(b)(6) as opposed to Rule 8(a)(2) to

 4   dismiss Plaintiff’s FIRST CLAIM with prejudice. Plaintiff respectfully argues that this is
     evident from the incidents of RICO predicates listed above in paragraph 1, which arising from
 5
     defendants knowingly and willfully acting to harm Plaintiff absent any relations to a state court
 6
     order. Indeed, the several incidents of harassment and threats of legal entanglement to Plaintiff’s
 7   business associates, executive recruiters and potential employers had no relations whatsoever to
 8   any state court orders or relevance to any ongoing controversies before the state courts. Neither

 9   does the rendering of services without a court order by Spiegle for personal enrichment, in
     cahoots with Akins and Rebecca using wire and mail to transmit false reports intended to churn
10
     litigation, and that these services were harmful and injurious to Plaintiff, cannot be implicated by
11
     Rooker-Feldman. This incident involving Spiegle prior to any court orders is more fully
12   documented in ECF #52 @ ¶¶ 228-234.

13      5. It is indisputable that Plaintiff is untrained in law and constructing legal pleadings; as
14   such, Plaintiff may be prone to excusable neglect. Specifically, the Court never identified in
     ECF #73 and ECF #90 the cause for dismissal was due to Plaintiff not adequately stating how his
15
     allegations would satisfy the elements of the predicates, as opposed to the elements for
16
     sufficiently pleading an 18 USC §1962 claim. Plaintiff respectfully requests the Court to please
17
     identify which element(s) for a predicate claim are missing from Plaintiff’s RICO pleading
18   alleging certain predicates occurred; according to Plaintiff’s review of jury instructions

19   commonly applied to each of the relevant predicates in criminal litigation, Plaintiff believes he
     has sufficiently and adequately pleaded these predicates for the purposes of Rule 8(a)(2) and that
20
     these predicates would be proven at trial. As such, Plaintiff cannot ascertain where his pleadings
21
     may have fallen short on any element without a more specific clarification from the Court.
22   Consequently, Rule 60(b)(1), excusable neglect is applicable in this instance and Plaintiff has
23   cause to seek relief from judgment to properly respond.

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 1

 2                                              MOTION

 3      6. Pursuant to Fed.R.Cv.P. 60(b)(1), (b)(6) and (d)(1), Plaintiff respectfully moves this Court

 4   for relief; and thereafter grant relief from Judgment, ECF #91 and Order ECF #90 for the
     dismissal of Plaintiff’s FIRST CLAIM in ECF #52 pursuant to Rule 12(b)(6) and any other relief
 5
     as appropriate in conjunction with a ruling on Plaintiff’s other Rule 60 MOTION, ECF #113,
 6
     also entered on this day, the 9th of March 2021.
 7
                                      SUMMARY AND PRAYER
 8
        WHEREFORE, pursuant to Fed.R.Cv.P. 60(b)(1), 60(b)(6) and 60(d)(1), your undersigned
 9
     Plaintiff, Gilbert T. Tso, now prays that this Honorable Court:
10
            (A)     GRANT Plaintiff’s motion for RELIEF FROM JUDGMENT/ORDER re: the dismissal
11                  of Plaintiff’s FIRST CLAIM under Rule 12(b)(6); and in conjunction with a ruling
                    on Plaintiff’s other Rule 60 MOTION, ECF #113,
12
            (B)     any other relief that the Court deems fair and equitable.
13
                                                          Respectfully submitted,
14

15
                                                          s/ Gilbert T. Tso
16                                                        Gilbert T. Tso
                                                          3700 Quebec Street, #100-228
17                                                        Denver, CO 80207
                                                          Telephone: 312-339-1968
18                                                        Email: gilbert.tso@gmail.com
                                                          Pro Se Plaintiff, Party of Record
19

20

21

22

23

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                          CERTIFICATION OF DUTY TO CONFER

        On March 4, 2021 Plaintiff contacted Defendants’ counsels to confer on Plaintiff’s
     Motion for Relief from Judgment, ECF # 91 and from Order, ECF #90 Pursuant to
     Fed.R.Cv.P. 60(b)(1), (b)(6) and (d)(1).

        Counsels for defendants all indicated they oppose this Motion. Plaintiff reports this is a
     contested motion.




                                                      s/ Gilbert T. Tso_____________
                                                      Gilbert T. Tso
                                                      3700 Quebec Street, #100-228
                                                      Denver, CO 80207
                                                      Telephone: 312-339-1968
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                                                      Pro Se Plaintiff, Party of Record
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                                  CERTIFICATE OF SERVICE

     This is to certify that I have duly served the within Plaintiff’s Motion Pursuant to
  Fed.R.Cv.P. 62.1 for an Indicative Ruling on a Fed.R.Cv.P. 60(b)(2) and (b)(6), (d)(1) Motion
  for Relief from Judgment, ECF # 91; and from Order, ECF # 90 upon all parties herein by
  depositing copies of same via CM/ECF, this 9th day of March 2021, addressed as follows:

  By CM/ECF:
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